          Case 8:19-bk-13139-TA                   Doc 80 Filed 12/10/20 Entered 12/10/20 11:35:29                                      Desc
                                                   Main Document    Page 1 of 2

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address

 Dennis Connelly (SBN 232835)
 LAW OFFICE OF DENNIS CONNELLY                                                                           FILED & ENTERED
 2901 W. Coast Hwy Ste 200
 Newport Beach, CA 92663
 Ph: (949) 270-2904                                                                                              DEC 10 2020
 Fx: (949) 258-5093
                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY deramus DEPUTY CLERK


     Chapter 13 Trustee
     Attorney for: Debtor, Brian Leach

                                         UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 In re:                                                                      CASE NUMBER: 8:19-bk-13139-TA
                                                                             CHAPTER: 13
 BRIAN LEACH,
                                                                                ORDER     GRANTING     DENYING
                                                                              APPLICATION OF ATTORNEY FOR DEBTOR
                                                                                  FOR ALLOWANCE OF FEES AND
                                                                               EXPENSES FOLLOWING DISMISSAL OR
                                                                                CONVERSION OF CHAPTER 13 CASE
                                                                                    SUBJECT TO A RIGHTS AND
                                                                                  RESPONSIBILITIES AGREEMENT
                                                                                   No hearing held
                                                                                   Hearing held
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:


                                                             Debtor(s).


Based on the Application for Allowance of Fees and Expenses Following Dismissal or Conversion of Chapter 13 Case
Subject to a Rights and Responsibilities Agreement (Application) filed on (date) 6/19//2020 as docket number72, the court
orders as follows:

1.        The Application is granted and the Attorney for Debtor is allowed the sum of $4,810.00 as compensation for
          Additional Services and the sum of $52.00 in expenses related to Additional Services referred to in the
          Application, and the Chapter 13 Trustee is directed to pay the unpaid balance of $4,862.00 from the estate of
          Debtor as funds permit.

2.        The Application is set for hearing on: (date)                         at (time)            .




            This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2017                                                          Page 1                      F 3015-1.19.ORDER.CH13.FEES.DMCON
        Case 8:19-bk-13139-TA                   Doc 80 Filed 12/10/20 Entered 12/10/20 11:35:29                                      Desc
                                                 Main Document    Page 2 of 2



3.      The Attorney for Debtor must file and serve appropriate notice of the hearing on Debtor and the Chapter 13
        Trustee.

4.      The Application is denied.

5.      Other (specify):

                                                                        ###




                Date: December 10, 2020




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2017                                                        Page 2                      F 3015-1.19.ORDER.CH13.FEES.DMCON
